          EXHIBIT A2




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                         UNITED STATES DISTRICTCOURT
                            DISTRICT OF MINNESOTA


 IN RE CATTLE ANTITRUST LITIGATION                    Case No. 0:19-cv-1222 (JRT/HB)

 This document relates to: ALL CASES              ORDER REGARDING PRODUCTION
                                                   OF ELECTRONICALLY STORED
                                                     INFORMATION AND PAPER
                                                          DOCUMENTS


 KENNETH PETERSON, et al.,                            Case No. 0:19-cv-1129 (JRT/HB)

                     Plaintiffs,

 v.

 JBS USA FOOD COMPANY HOLDINGS, et al.,

                     Defendants.


 IN RE DPP BEEF LITIGATION                            Case No. 0:20-cv-1319 (JRT/HB)

 This document relates to: ALL CASES



 ERBERT & GERBERT’S, INC.,                       Case No. 0:20-cv-1414 (JRT/HB)

                     Plaintiff,

 v.

 JBS USA FOOD COMPANY HOLDINGS, et al.,

                     Defendants.



       Pursuant to the Joint Stipulation for Entry of Proposed Order Regarding
 Production of Electronically Stored Information and Paper Documents (ECF No. 196 in


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 19-cv-1129, ECF No. 270 in 19-cv-1222, ECF No. 90 in 20-cv-1319, ECF No. 63 in 20-
 cv-1414), entered into by the parties,
        IT IS HEREBY ORDERED that the Joint Stipulation is APPROVED and this
 Order (“ESI Protocol Order”) shall govern the Parties in the above-captioned cases
 whether they currently are involved or become so in the future, and any related actions that
 may later be consolidated with any of these cases (collectively, the “Litigations”).

     I.     GENERAL PROVISIONS

            A.     Applicability: This ESI Protocol Order will govern the production of
                   ESI and paper documents. To the extent that a Party collected and
                   processed documents prior to the entry of this ESI Protocol Order, and
                   production of such documents cannot be made in accordance with the
                   terms of this ESI Protocol Order, the Parties will meet and confer
                   concerning the potential formats of the production of any such
                   documents.

            B.     Limitations & Non-Waiver: Nothing in this ESI Protocol Order shall
                   be construed to affect the admissibility of discoverable information.
                   All objections to the admissibility of any documents are preserved and
                   may be asserted at any time. Pursuant to the terms of this ESI Protocol
                   Order, information regarding search process and electronically-stored
                   information (“ESI”) practices may be disclosed, but compliance with
                   this ESI Protocol Order does not constitute a waiver, by any Party, of
                   any objection to the production of particular ESI for any reason,
                   including as irrelevant, undiscoverable, or otherwise inadmissible,
                   unduly burdensome or not reasonably accessible, or privileged, nor
                   does it constitute a waiver of any right to discovery by any Party. For
                   the avoidance of doubt, a Party’s compliance with this ESI Protocol
                   Order will not be interpreted to require disclosure of information
                   potentially protected by the attorney-client privilege, the work product
                   doctrine, or any other applicable privilege. All parties preserve all such
                   privileges and protections, and all parties reserve the right to object to
                   any such privileges and protections. Furthermore, this ESI Protocol
                   Order and a Party’s stipulation thereto shall not constitute a waiver of
                   (a) any jurisdictional defenses that may be available; (b) any
                   affirmative defenses under Rule 8 of the Federal Rules of Civil
                   Procedure, any defense listed in Rule 12(b) of the Federal Rules of
                   Civil Procedure, or otherwise (including but not limited to any defense
                   based on ineffective service), or (c) any other statutory or common law
                   defenses that may be available to Defendants. Defendants expressly
                   reserve their rights to raise these and any other defenses available to
                   them.


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           C.    ESI Liaisons:

                 1.     Designation: Each Party agrees to designate an ESI Liaison
                        within 14 days after entry of this ESI Protocol Order. Any
                        Party is free to change its designated ESI Liaison by providing
                        written notice to the other Parties.

                2.      Duties of ESI Liaison: Each ESI Liaison will be prepared to
                        participate in the resolution of any e-discovery disputes or ESI
                        issues that may arise (or designate another person as primarily
                        responsible) and have access to personnel most knowledgeable
                        about the Party’s electronic systems and capabilities in order to,
                        as appropriate, answer pertinent questions.
                        Time Frame for ESI Issue Response: Each ESI Liaison will
                        acknowledge receipt of an ESI-related inquiry from another ESI
                        Liaison within 3 business days after the initial inquiry and
                        respond substantively no later than 10 business days after the
                        initial inquiry. If the responding ESI Liaison believes the ESI
                        issue in question is particularly complex or, in view of the
                        current COVID-19 crisis, the resources required to address the
                        issue are not reasonably available, and a substantive response
                        will therefore require more than 10 business days, then within
                        10 business days the responding ESI Liaison will provide a
                        general explanation of the process necessary to answer the
                        question and provide an estimated response date.

           D.    Deadlines: References to schedules and deadlines in this ESI Protocol
                 Order shall comply with Fed. R. Civ. P. 6 with respect to computing
                 deadlines.

           E.    Definitions:

                 1.     “Discovery Material” is defined as all information produced,
                        given, or exchanged by and among all Parties, or received from
                        non-Parties in the Litigations, including all deposition
                        testimony, testimony given at hearings or other proceedings,
                        interrogatory answers, documents and all other discovery
                        materials, whether produced informally or in response to
                        requests for discovery. However, the Parties agree that the
                        failure to separately produce each successive lesser-included
                        email communication shall not be grounds to object to the
                        authenticity of email communications at trial.




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                 2.     “Plaintiffs” as used herein shall mean the putative class as
                        defined in the most recently amended Complaint(s) in the
                        Litigations. “Defendants” as used herein shall mean Defendants
                        named in the most recently amended Complaint(s) in the
                        Litigations. Plaintiffs and Defendants, as well as their officers,
                        directors, employees, agents, and legal counsel, are referred to
                        as the “Parties” solely for the purposes of this ESI Protocol
                        Order. A single Plaintiff or Defendant, as well as, where
                        applicable, its respective officers, directors, employees, agents,
                        and legal counsel, may also be referred to as a “Party” solely for
                        the purposes of this ESI Protocol Order.

                 3.     To avoid misunderstandings about terms, all Parties should
                        consult the most current edition of The Sedona Conference
                        Glossary.

           F.    Authenticity and Admissibility: Nothing in this ESI Protocol Order
                 shall be construed to affect the authenticity or admissibility of any
                 document or data. All objections to the authenticity or admissibility of
                 any document or data are preserved and may be asserted at any time.

           G.    Confidential Information: For the avoidance of doubt, nothing
                 herein shall contradict the Parties’ rights and obligations with respect
                 to any information designated as confidential under any Protective
                 Order entered in this case.

           H.    Preservation: The Parties shall continue to take reasonable steps to
                 preserve relevant Documents and Electronically Stored Information
                 that may exist for a Document or ESI, in accordance with their
                 obligations under applicable law. By preserving or producing
                 information for the purpose of the Litigations, the Parties are not
                 conceding that such material is discoverable. The Parties will meet
                 and confer regarding the scope of preservation, including custodians,
                 data sources, date ranges, and categories of information that have been
                 or should be preserved in connection with the Litigations and
                 disclosures regarding custodians, data sources, date ranges, and
                 categories of information necessary to facilitate the Parties’
                 negotiations. In view of the Plaintiffs’ claims of continuing violations
                 by Defendants, and the absence of specific evidence from which the
                 Court can make informed findings about whether reasonableness and
                 proportionality require a specific cut-off date for Defendants’ respective
                 preservation obligations, the Court declines to adopt Defendants’
                 proposal regarding a cut-off date for the obligation to preserve ESI at
                 this time. However, the Parties shall meet and confer again following

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                   issuance of a decision on the pending Motions to Dismiss about
                   whether the scope of preservation should be revisited in light of the
                   decision on the motions and/or other considerations of proportionality
                   under Fed. R. Civ. P. 1, 26(b)(1), and 37(e).

     II.     GENERAL PRODUCTION FORMAT PROTOCOLS

             A.    TIFFs: Except for structured data, all production images will be
                   provided as a black-and-white, single-page Group IV TIFF of at least
                   300 DPI resolution with corresponding multi-page text and necessary
                   load files. Each image will have a file name that is the unique Bates
                   number of that image, pursuant to ¶ II(E). Original document
                   orientation should be maintained to the extent reasonably practicable
                   and technologically possible for a producing Party’s vendor
                   (i.e., portrait to portrait and landscape to landscape). The imaged Data
                   shall retain all attributes of the native or hard-copy file, such as
                   document breaks. Produced TIFF images will show all text and images
                   that are visible in the form in which the electronic document was last
                   saved, with the exception of redacted portions. Hidden content,
                   tracked changes or edits, comments, notes, and other similar
                   information, to the extent viewable within a document in its native file
                   format and visible in the form in which the electronic document was
                   last saved, shall also be imaged so that such content is viewable on the
                   image file. Nothing in this subsection requires the modification or
                   alteration of any document or data in order to make any hidden content,
                   tracked changes or edits, comments, notes, and other similar
                   information viewable if it is not already viewable in the form in which
                   the electronic document was last saved. Documents that are difficult to
                   render in TIFF because of technical issues, or any other documents that
                   are impracticable to render in TIFF format, may be produced in their
                   native format with a placeholder TIFF image stating “Document
                   Produced Natively” or, in the alternative if applicable, “Exception File
                   Unable to Be Imaged.” A producing Party retains the option to
                   produce ESI in alternative formats if so agreed by the requesting Party,
                   which may include native format, or a combination of native and TIFF
                   formats.

             B.    Text Files: Each ESI item produced under this ESI Protocol Order
                   shall be accompanied by a text file as set out below. All text files shall
                   be provided as a single document level text file for each item, not one
                   text file per page. Each text file shall be named to use the Bates
                   number of the first page of the corresponding production item.




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                 1.     OCR: A producing Party will scan and OCR paper documents,
                        unless the parties agree to a different procedure or the Court so
                        requires. Where OCR is used, the Parties will endeavor to
                        generate accurate OCR and will utilize quality OCR processes
                        and technology. OCR text files should indicate page breaks
                        where possible. Even if OCR is used by a producing Party,
                        however, the Parties acknowledge that, due to poor quality of
                        the originals, not all documents lend themselves to the
                        generation of accurate OCR.

                 2.     Extracted Text: Except for redacted documents, emails and
                        other ESI will be accompanied by extracted text taken from the
                        electronic file itself, where available. For redacted documents,
                        Parties shall provide OCR text in accordance with the
                        specifications in ¶ II(B)(1).

           C.    Production of Native Items: The Parties agree that ESI shall be
                 produced as TIFF images consistent with the format described in
                 ¶ II(A) with an accompanying load file, which will contain, among
                 other data points, the ESI data points listed in Appendix 1 hereto. The
                 exception to this rule shall be spreadsheet-application files (e.g., MS
                 Excel), presentation files (e.g., MS PowerPoint), personal databases
                 (e.g., MS Access), and multimedia audio/visual files such as voice and
                 video recordings (e.g., .wav, .mpeg, and .avi), for which all ESI items
                 shall be produced in native format, except where there are issues with
                 producing in such format (e.g., the file needs to be redacted for
                 privilege). For all other file types, parties shall not be required to
                 provide native files unless so requested by another party, provided that
                 such a request is reasonable under the circumstance. In the case of
                 personal database (e.g., MS Access) files containing confidential or
                 privileged information, the Parties shall meet and confer to determine
                 the appropriate form of production. When producing the above file
                 types in native format, the producing Party shall produce a single-page
                 TIFF slip sheet indicating that a native item was produced. The
                 corresponding load file shall include NativeFileLink information for
                 each native file that is produced.

                 1.     Non-standard Native Files: The Parties agree to meet and
                        confer prior to producing native file types other than
                        spreadsheet application files, presentation files, and multimedia
                        audio/visual file types such as .wav, .mpeg and .avi. Prior to
                        processing non-standard native files for production, the
                        producing Party shall disclose the file type to, and meet and


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                        confer with, the requesting Party about a reasonably useable
                        production format. The Parties agree to meet and confer to the
                        extent that there is data in database application files, such as
                        SQL, to determine a reasonable form of production of usable
                        data.

                 2.     Continued Preservation of Native Copies of Documents:
                        Through the pendency of the Litigations, the producing Party
                        shall exercise reasonable, good faith efforts to maintain all
                        preserved and produced native files in a manner that does not
                        materially alter or modify the file or the metadata.

           D.    Requests for Other Native Files: Other than as specifically set forth
                 above, a producing Party need not produce documents in native format.
                 If a Party would like a particular document produced in native format
                 and this ESI Protocol Order does not require the production of that
                 document in its native format, the Party making such a request shall
                 explain the reason for its request that the document be produced in its
                 native format. The requesting Party will provide a specific Bates range
                 for documents it wishes to be produced in native format. Any native
                 files that are produced should be produced with a link in the NativeLink
                 field, along with all extracted text and applicable metadata fields set
                 forth in Appendix 1.

           E.    Bates Numbering:

                 1.     All images must be assigned a Bates number that must always:
                        (1) be unique across the entire document production;
                        (2) maintain a constant prefix and length (ten-digits and
                        0-padded) across the entire production; (3) contain no special
                        characters or embedded spaces, except hyphens or underscores;
                        (4) be sequential within a given document; and (5) identify the
                        producing Party. To the extent reasonably practicable, the Bates
                        number must also maintain consistent numbering across a
                        family of documents.

                 2.     If a Bates number or set of Bates numbers is skipped in a
                        production, the producing Party will so note in a cover letter or
                        production log accompanying the production.

                 3.     The producing Party will brand all TIFF images at a location that
                        does not obliterate or obscure any part of the underlying images.




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           F.   Parent-Child Relationships: Parent-child relationships (the
                association between an attachment and its parent document) that have
                been maintained in the ordinary course of business should be preserved
                to the extent reasonably practicable. For example, if a Party is
                producing a hard copy printout of an email with its attachments, the
                attachments should be processed in order behind the e-mail to the
                extent reasonably practicable. The child-document(s) should be
                consecutively produced immediately after the parent-document. Each
                document shall be produced with the production number for the first
                and last page of that document in the “BegBates” and “EndBates”
                fields of the data load file and with the “BegAttach” and “EndAttach”
                fields listing the production number for the first and last page in the
                document family.

           G.    Entire Document Families: Subject to Paragraphs II(K)(1) and
                 II(K)(2) below, entire Document families must be produced, even if
                 only the parent email or an attachment to an email is responsive,
                 excepting (1) junk files and non-user-created content routinely
                 excluded during processing (provided such routine processing-
                 generated exclusions are agreed to among the parties), and
                 (2) documents that are withheld on the basis of privilege and in
                 compliance with the parties’ stipulation or the Court’s order on such
                 assertions of privilege.

           H.    Load Files: All production items will be provided with a delimited
                 data file or “load file,” which will include both an image cross-
                 reference load file (such as an Opticon file) as well as a metadata (.dat)
                 file with the metadata fields identified below on the document level to
                 the extent available. The load file must reference each TIFF in the
                 corresponding production. The total number of documents referenced
                 in a production’s data load file should match the total number of
                 designated document breaks in the Image Load files in the production.

           I.    Color: Documents or ESI containing color need not be produced
                 initially in color. However, if an original document or ESI item
                 contains color markings and it is necessary to see those markings in
                 their original color to understand the meaning or content of the
                 document, then the requesting Party may, in good faith, request that the
                 document or ESI item be produced in its original colors. For such
                 documents, the requesting Party shall provide a list of Bates numbers of
                 the imaged documents sought to be produced in color. The production
                 of documents and/or ESI in color shall be made in single-page JPEG
                 format (300 DPI). All requirements for productions stated in this ESI


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                 Protocol Order regarding productions in TIFF format apply to any
                 productions of documents and/or ESI in color made in such an
                 alternative format. Requests that a document be produced in color
                 for the reasons set forth in this paragraph will not be unreasonably
                 denied by the producing Party. If a producing Party wishes to object, it
                 may do so by responding in writing and setting forth its objection(s) to
                 the production of the requested document in color.

           J.    Confidentiality Designations: If a particular paper document or ESI
                 item qualifies for confidential treatment pursuant to any applicable
                 federal, state, or common law (e.g., Personally Identifiable Information
                 or Protected Health Information), or to the terms of a Protective Order
                 entered by the Court in the Litigations or a confidentiality stipulation
                 entered into by the Parties, the designation shall be branded on the
                 document’s image at a location that does not obliterate or obscure any
                 part of the underlying images. This designation also should be
                 included in the appropriate data field in the load file. For documents
                 produced in native format with image placeholders, the placeholder
                 image for the native file should be branded with the appropriate
                 confidentiality designation to the extent possible. Requesting parties
                 shall ensure that the confidentiality claim follows the document
                 regardless of whether the designation imprints on the file when viewed
                 in printed form. Failure to comply with the procedures set forth in this
                 ESI Protocol Order, any protective order or confidential order, or any
                 confidential stipulation shall not waive any protection or confidential
                 treatment. The Parties recognize that document review using
                 technological means may result in the application of greater or lesser
                 confidentiality designations than otherwise appropriate. The Parties
                 agree to work together on an as-needed (and per document) basis to
                 address any potential over (or under) designation.

           K.    Redactions

                 1.     Personal Data Redactions: A producing Party may redact
                        personal information to the extent that the information falls
                        within one of the following categories: (1) the information
                        relates to medical or health issues of an individual; (2) social
                        security numbers, bank account information, or personal
                        passcodes; or (3) personal contact information of friends or
                        family to the extent they do not work in in the cattle or beef
                        industry or work for a Party’s competitors. Such redactions
                        should be identified as “Redacted – Personal Data” on the
                        document.


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                    2.     Redactions of Nonresponsive Highly Confidential Business
                           Information: A producing Party may redact specific highly
                           confidential business information relating to non-cattle or non-
                           beef businesses provided (1) the redacted information is both
                           nonresponsive and irrelevant; and (2) the redacted information
                           would not assist in understanding or providing context for the
                           relevant portion of the document or document family of which it
                           is a part. Such redactions must be identified as “Redacted –
                           Highly Confidential Nonresponsive Information.”

              L.    Production Media & Protocol: A producing Party may produce
                    documents via email, readily accessible computer or electronic media,
                    including CD-ROM, DVD, or external hard drive (with standard PC
                    compatible interface) (“Production Media”), or via file-sharing service,
                    including any network-based secure file transfer mechanism or SFTP.
                    Any requesting Party that is unable to resolve any technical issues with
                    the electronic production method used for a particular production may
                    request that a producing Party provide a copy of that production using
                    Production Media. The producing Party may encrypt Production
                    Media, and will provide a decryption key to the requesting Party in a
                    communication separate from the production itself.

     III.     PAPER DOCUMENT PRODUCTION PROTOCOLS

              A.    Scanning: Unless otherwise agreed to by the parties or ordered by the
                    Court, a producing Party will scan and OCR paper documents and
                    produce electronics copies. Where OCR is used, the Parties agree that
                    the following subparagraphs III(B)-III(E) shall apply.

              B.    Coding Fields: The following information shall be produced in the
                    load file accompanying production of paper documents: (a) BegBates,
                    (b) EndBates, (c) BegAttach, (d) EndAttach, (e) Custodian,
                    (f) Confidentiality, and (g) Redacted (Y/N) or otherwise indicating that
                    a redaction is present. Additionally, all paper documents will be
                    produced with a coding field named “Paper Document” marked with a
                    “Y” or otherwise indicate that the document originated in paper, and
                    such indication shall be explained to the requesting party.

              C.    Unitization of Paper Documents: Paper documents should be
                    logically unitized for production to the extent reasonably practicable.
                    Generally, when scanning paper documents for production, distinct
                    documents shall not be merged into a single record and single
                    documents shall not be split into multiple records. The Parties will
                    make reasonable efforts to unitize documents correctly.


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                    1.     Relationship: The relationship among the documents in a
                           folder or other grouping should be reflected in proper coding of
                           the beginning and ending document and attachment fields to the
                           extent reasonably practicable.
                    2.     Identification: Where a document, or a document group – such
                           as folder, clipped bundle, or binder – has an identification spine
                           or other label, the information on the label shall be scanned and
                           produced as the first page of the document or grouping.

      IV.     ESI METADATA FORMAT AND PROCESSING ISSUES

              A.    System Files: ESI productions may be de-NISTed using the industry
                    standard list of such files maintained in the National Software
                    Reference Library by the National Institute of Standards & Technology
                    as it exists at the time of de-NISTing. Other file types may be added to
                    the list of excluded files if they clearly do not have user-created
                    content.

              B.    Metadata Fields and Processing:

                    1.     Time Zone: To the extent reasonably practicable, ESI items
                           shall be processed using the Central Standard Time (CST) time
                           zone (e.g., GMT).

                    2.     Auto Date/Time Stamps: To the extent reasonably
                           practicable, ESI items shall be processed so as to preserve the
                           date/time shown in the document as it was last saved, not the
                           date of collection or processing.

                    3.     Except as otherwise set forth in this ESI Protocol Order, ESI files
                           shall be produced with at least each of the data fields set forth in
                           Appendix 1 that can reasonably be extracted from a document.

                    4.     The Parties are not obligated to manually populate any of the
                           fields in Appendix 1 if such fields cannot reasonably be
                           extracted from the document using an automated process, with
                           the exception of the following fields: (a) BegBates,
                           (b) EndBates, (c) BegAttach, (d) EndAttach, (e) Custodian,
                           (f) Confidentiality, (g) Redacted (Y/N), and (h) NativeLink
                           fields, which should be populated regardless of whether the
                           fields can be populated pursuant to an automated process.




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            C.     ESI Redactions:

                   1.     The Parties agree that, where ESI items need to be redacted, they
                          shall be produced solely in TIFF format with each redaction
                          clearly indicated, except in the case of personal database files
                          (e.g., MS Access), which shall be governed by ¶ II(C), supra.
                          The Parties understand that for certain MS Excel documents or
                          other file types or files, TIFF redactions may be impracticable.
                          These documents may be redacted in native format.

                   2.     The Parties agree that the following list of metadata fields, if
                          reasonably accessible and unnecessary to protect the privilege,
                          will be produced in a metadata log (though it does not have to
                          be in the order set forth below):
                          a.     Privilege Asserted (e.g., Attorney Client
                                 Communication)
                          b.     Privilege Status (e.g., redact or withhold)
                          c.     Attorney/Description of Privileged Material
                          d.     BegBates 1
                          e.     EndBates
                          f.     BegAttach
                          g.     EndAttach
                          h.     Custodian
                          i.     CustodianAll
                          j.     LogicalPath
                          k.     Email Thread ID
                          l.     EmailSubject
                          m.     Date Sent
                          n.     Time Sent
                          o.     Time Zone Used
                          p.     To/From/CC/BCC
                          q.     Page Count
                          r.     Fingerprint (Hash value)
                          s.     Subject
                          t.     Author
                          u.     DocExt
                          v.     Confidentiality
                          w.     Paper
                          x.     Production Volume


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   A document being entirely withheld may not receive a Bates ID and an alternative ID
  may be provided.

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                 3.     If the items redacted and partially withheld from production are
                        audio/visual files, the producing Party shall, to the extent
                        reasonably practicable, provide the unredacted portions of the
                        content. If the content is a voice recording, the Parties shall
                        meet and confer to discuss the appropriate manner for the
                        producing Party to produce the unredacted portion of the
                        content.

           D.    Email Collection and Processing:

                 1.     Email Threading: The Parties may use email thread
                        suppression to avoid review and production of information
                        contained within an existing email thread in another document
                        being reviewed and produced, but under no circumstances will
                        email thread suppression eliminate (a) the ability of a
                        requesting Party to identify every custodian who had a copy of a
                        produced document or email, or (b) remove from a production
                        any unique branches and/or attachments contained within an
                        email thread.

                 2.     Email Domains: Producing parties may utilize an ESI search
                        process to identify categories of documents, such as emails from
                        domains typically associated with junk email, such as fantasy
                        football-related emails, retailer advertising, and newsletters or
                        alerts from non-industry sources. To the extent a Party opts to
                        exclude such uniquely identifiable email domain names as part
                        of its initial filter of potentially responsive documents, the
                        Parties agree to disclose domain names excluded under this
                        paragraph and to meet and confer on the timing for such
                        disclosures.

           E.    De-duplication: A producing Party may de-duplicate any file globally
                 (i.e., across Document Custodians, see infra ¶ V(B)(1)) at the “family”
                 level (i.e., families should not be broken due to de-duplication). The
                 producing Party will make a reasonable effort to identify all custodians
                 who were in possession of any de-duplicated documents through an
                 appropriate load file such as DuplicateCustodian or
                 CustodianAll/Other. Additionally, all BCC recipients whose names
                 would have been included in the BCC metadata field, to the extent
                 such metadata exists, but are excluded because of horizontal/global de-
                 duplication, must be identified in the BCC metadata field specified in
                 Appendix 1 to the extent such metadata exists. In the event of rolling
                 productions of documents or ESI items, the producing Party will, as
                 needed, supplement the load files with updated duplicate custodian

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                 information, as well as BCC information to the extent such metadata
                 exists. Duplicate custodian information may be provided by a
                 metadata “overlay” and will be provided by a producing Party after the
                 Party has substantially completed its production of ESI.

                 1.     Duplicate electronic documents shall be identified by a
                        commercially accepted industry standard (e.g., MD5 or SHA-1
                        hash values) for binary file content. All electronic documents
                        bearing an identical value are a duplicate group. The producing
                        Party shall use reasonable efforts to produce only one document
                        image or native file for duplicate ESI documents within the
                        duplicate group to the extent practicable. The producing Party
                        is not obligated to extract or produce entirely duplicate ESI
                        documents. Any other methodology for identification of
                        duplicates, including email field selection for hash value
                        creation, must be discussed with the requesting Party and
                        approved in writing before implementation.

                 2.     Duplicate messaging files shall be identified by a commercially
                        accepted industry standard (e.g., MD5 hash values) for the
                        email family, which includes the parent and email attachments.
                        Duplicate messaging materials will be identified at a family
                        level, including message and attachments. Email families
                        bearing an identical value are considered a duplicate group.
                        The producing Party shall use reasonable efforts to produce
                        only one document image or native file for duplicate emails
                        within the duplicate group to the extent practicable.

           F.    Zero-byte Files: The Parties may, but are not required to, filter out
                 stand-alone files identified as zero-bytes in size that do not contain
                 responsive file links or file names. If the requesting Party in good faith
                 believes that a zero-byte file was withheld from production and
                 contains information responsive to a request for production, the
                 requesting Party may request that the producing Party produce the
                 zero-byte file. The requesting Party may provide a Bates number to the
                 producing Party of any document that suggests a zero-byte file was
                 withheld from production and contains information responsive to a
                 request for production.

           G.    Microsoft “Auto” Feature: To the extent reasonably practicable and
                 technologically possible for a producing Party’s vendor, Microsoft
                 Excel (.xls) and Microsoft PowerPoint (.ppt) documents should be
                 analyzed for the “auto” features, where documents have an
                 automatically updated date and time in the document, file names, file

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                 paths, or similar information that when processed would be inaccurate
                 for how the document was used in the ordinary course of business. If
                 “auto date,” “auto file name,” “auto file path,” or similar features are
                 identified, the produced document shall be identified in a load file,
                 metadata field, or otherwise as having these features.

           H.    Hidden Text: ESI items shall be processed, to the extent practicable,
                 in a manner that preserves hidden columns or rows, hidden text,
                 worksheets, speaker notes, tracked changes, and comments.

           I.    Embedded Objects: The Parties agree that embedded objects within
                 ESI items, including, but not limited to, logos, icons, emoticons, and
                 footers, may be culled from a document set and need not be produced
                 as separate documents by a producing Party (e.g., such embedded
                 objects will be produced within the document itself, rather than as
                 separate attachments). If there is a reasonable need with respect to
                 particular documents, then a receiving Party may request the producing
                 Party to reproduce an ESI item with the embedded objects extracted as
                 separate files (e.g., MS Excel objects embedded in a MS PowerPoint
                 file).

           J.    Compressed Files: Compression file types (i.e., .CAB, .GZ, .TAR,
                 .Z, and .ZIP) shall be decompressed in a reiterative manner to ensure
                 that a zip within a zip is decompressed into the lowest possible
                 compression resulting in individual folders and/or files.

           K.    Password-Protected, Encrypted, or Proprietary-Software Files:
                 With respect to any ESI items that are password-protected or encrypted
                 within the scope of review, the producing Party will take reasonable
                 steps based on industry standards to break the protection so that the
                 documents can be reviewed and produced if appropriate. In the event
                 that encrypted or password-protected documents, which are reasonably
                 likely to be responsive to a document request, remain for a particular
                 custodian after such reasonable efforts have been made, the producing
                 Party shall advise the requesting Party. ESI that cannot be reviewed
                 because proprietary software is necessary to view the ESI will be
                 disclosed to a requesting Party, and the Parties shall meet and confer
                 regarding the next steps, if any, with respect to such ESI.




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       V.     PARAMETERS FOR CULLING AND REVIEWING ESI AND PAPER
              DOCUMENTS:

              A.     General Provisions:

                     1.     Except for the negotiations specified below in Section V.B.1,
                            the Parties will not negotiate the date range(s) applicable to the
                            collection, review, and production of structured and
                            unstructured data until after the Court issues an order or orders
                            substantially denying the motions to dismiss.

                     2.     Meet and Confer:

                            a.     Dispute Resolution: If the Parties cannot reach
                                   agreement under the provisions of this Section V, any
                                   dispute may be presented to the Court. All meet and
                                   confer sessions under this Section V will involve each
                                   Party’s respective ESI Liaison.

                     3.     Non-Waiver: The Parties’ discussion of proposed search
                            terms, Document Custodians or Sources does not preclude a
                            Party from requesting additional search terms, Document
                            Custodians or Sources pursuant to the terms of this ESI Protocol
                            Order, nor does it preclude a Party from objecting to any such
                            additional requests.

              B.     Document Custodians and Sources: 2

                     1.     Initial Discussions About Scope of Document Discovery:
                            The Parties will commence discussions about the scope of
                            initial discovery after the Initial Disclosures and the document
                            productions pursuant to the Court’s Attachment 1 (Dkts. 196
                            (Cattle) & 187 (Peterson)) have been served, as follows:

                            a.     The producing Parties will propose an initial list of
                                   (i) Document Custodians, (ii) non-custodial sources, and
                                   (iii) date ranges.


  2
   The parties intend to incorporate into this section the Court’s rulings set forth in the
  August 31, 2020 Order Regarding Section V of Production of Electronically Stored
  Information and Paper Documents (Dkts. 250 (Cattle) and 183 (Peterson)) and the
  September 8, 2020 Second Order on Discovery Pending Resolution of Motions to
  Dismiss ((Dkts. 254 (Cattle) and 187 (Peterson)). To the extent there is any conflict
  between this section and those two orders, the orders will control.

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                               i.     For proposals made prior to the ruling on the
                                      motions to dismiss, the producing Party shall
                                      assume that, at a minimum, the following
                                      presumptive date range[s] shall apply: (a) for
                                      unstructured data, January 1, 2012, to June 30,
                                      2020; and (b) for structured data, January 1,
                                      2009, to June 30, 2020.

                              ii.     In making the initial proposal, the producing
                                      Party will consider, on a request-by-request
                                      basis, whether it can agree to broader date
                                      ranges for particular requests. The producing
                                      Party may also, on a request-by-request basis,
                                      ask the requesting Party to agree to narrower
                                      date ranges for particular requests.

                             iii.     The producing Party’s initial proposal on date
                                      ranges and any agreement reached by the
                                      Parties on date ranges are without prejudice to
                                      any Party seeking broader or narrower dates
                                      ranges following the ruling on the motions to
                                      dismiss.

                       b.    Pursuant to the Court’s Order dated September 8, 2020
                             (Dkt. 187 (Peterson), the Parties in In re Cattle and
                             Peterson shall serve updated initial proposals that reflect
                             the presumptive date range ordered by the Court’s
                             August 31, 2020 Order [Dkts. 250 (Cattle) & 183
                             (Peterson)] by Tuesday, September 15, 2020. The
                             Parties in these cases shall serve their counterproposals
                             by Tuesday, September 22, 2020.

                       c.    For the Parties in DPP Beef and Erbert & Gerbert’s, this
                             initial proposal shall be sent by the producing Party to
                             the other Parties at the same time the producing Party
                             serves its written responses to the requests for
                             productions authorized by the Court’s Order dated
                             September 8, 2020 (Dkt. 187 (Peterson)).

                       d.    Within 14 days of receipt of the producing Party’s initial
                             proposal, all other Parties in DPP Beef and Erbert &
                             Gerbert’s will be allowed to propose additional
                             Document Custodians or non-custodial document sources
                             as well as make any counter-proposals on date ranges.


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                       e.    Plaintiffs’ Custodians and Noncustodial Sources: The
                             Parties may meet and confer separately regarding the
                             proposals and counterproposals regarding Plaintiffs’
                             custodians and noncustodial sources. The Cattle and
                             Peterson Parties are to meet and confer by Friday,
                             October 30, 2020. The DPP Beef and Erbert &
                             Gerbert’s Parties are to meet and confer within 21 days
                             of the Defendants’ counterproposal. The meet and
                             confers may occur either in conjunction with or
                             following the meet and confers regarding Plaintiffs’ Rule
                             34 responses and objections.

                       f.    Defendants’ Custodians and Noncustodial Sources: The
                             parties shall meet and confer regarding the proposals and
                             counterproposals regarding Defendants’ custodians and
                             noncustodial sources by Friday, October 30, 2020. These
                             meet and confers shall occur either in conjunction with or
                             following the meet and confers regarding Defendants’
                             Rule 34 responses and objections. To the extent the
                             Cattle, Peterson, DPP Beef, and Erbert & Gerbert’s
                             Parties do not take common positions as to Defendants’
                             custodians and noncustodial sources due to the
                             differences between the cases, the Parties may, after their
                             initial meet and confers, break into separate meet and
                             confers to address any issues that are unique to that
                             Plaintiffs’ case.

                       g.    Date Ranges: The Parties shall discuss their proposed
                             and counter-proposed date ranges during their meet and
                             confers regarding Rule 34 responses and objections.

                       h.    Motion Practice: When conducting these meet and
                             confers, the Parties should presume that the motions to
                             dismiss are denied in their entirety. Because decisions
                             on the various motions to dismiss may differently impact
                             the track of each of these cases, after the motions to
                             dismiss are decided, and if those motions are not granted
                             in their entirety, the Parties to that case, and any case
                             decided contemporaneously, shall meet and confer within
                             10 days of that decision to determine whether that
                             decision changes the scope of the case in a way that
                             changes their positions regarding custodians,
                             noncustodial sources, or date ranges. Only thereafter


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                               may the parties to those cases file motions to resolve any
                               disputes regarding custodians, noncustodial sources, or
                               date ranges. The fact that the Court has rendered a
                               different decision in relation to Defendants’ motion to
                               dismiss in one or more of the other cases captioned
                               above, or has yet to issue a decision on such motions in
                               the other cases, does not preclude a Party from bringing a
                               motion to resolve a dispute in relation to custodians,
                               noncustodial sources, and/or date ranges in their case.

                        i.     Consistent with Section V.A.3 (“Non-Waiver”), the
                               Parties’ discussion of proposed Document Custodians
                               and non-custodial document sources does not preclude a
                               Party from requesting additional Document Custodians
                               or non-custodial sources.

                 2.     Additional Document Custodians/Sources/Dates: If, after the
                        initial Document Custodian/Source/date negotiations and
                        associated motion practice described in the preceding paragraph
                        concludes, a requesting Party determines that additional
                        Document Custodians/Sources should be added or a date range
                        revised, then the requesting Party shall advise the producing
                        Party in writing of the proposed revisions and the basis for the
                        request(s). If the Parties have not agreed whether to adopt the
                        proposed revisions within 21 calendar days of the Requesting
                        Party’s request, then the Parties may bring the matter to the
                        Court via motion within 21 calendar days or the issue is waived,
                        unless the parties agree in writing to defer resolution of the
                        issue. The parties shall raise any such disputed revisions via a
                        joint letter brief not to exceed five single-spaced pages, split
                        equally between Plaintiffs and Defendants, unless the parties
                        agree in writing to present the matter to the Court in a different
                        format. Submitting the dispute outside of a formal motion
                        process will not waive any Parties’ right to appeal the Court’s
                        decision.

                 3.     Except by agreement of the Parties or by order of the Court, a
                        Producing Party is not required to add Document Custodians or
                        Sources, or expand the date ranges, after the deadlines identified
                        in ¶ V(B)(2) unless otherwise ordered by the Court.

           C.    Search Methodology Order: The Parties to each case will meet and
                 confer to agree upon a search-methodology order regarding
                 unstructured data that provides details and deadlines pertaining to the

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                 search process only if and after the Court issues an order or orders
                 substantially denying the motions to dismiss. The meet and confers
                 will be conducted jointly with the parties to any case in which the
                 Court contemporaneously issues an order or orders substantially
                 denying the motions to dismiss in those cases. Unless otherwise
                 agreed to by the Parties in writing, the Parties will complete their meet
                 and confer process or submit any remaining disputed provisions to the
                 Court via a joint letter brief no later than 30 calendar days after an
                 order or orders substantially denying the motions to dismiss.

           D.    Structured Data: To the extent a response to discovery requires
                 production of discoverable ESI contained in a structured database, the
                 Parties shall meet and confer in an attempt to agree upon a set of
                 reasonable queries to be made for discoverable information and
                 generate a report in a reasonably usable and exportable electronic file
                 for review by the requesting Party. Ahead of these meet and confers,
                 the producing Party will also provide descriptions and/or definitions
                 for the fields contained in their structured databases. Upon review of
                 the report, the requesting Party may make reasonable requests for
                 additional information to explain the database schema, codes,
                 abbreviations, and different report formats or to request specific data
                 from identified fields. For the avoidance of doubt, the process set forth
                 herein need not occur prior to the resolution of the pending motions to
                 dismiss. This process shall commence in each case within 10 days
                 after the entry of an order or orders substantially denying the motions
                 to dismiss in that case. The meet and confers will be conducted jointly
                 with the parties to any case in which the Court contemporaneously
                 issues an order or orders substantially denying the motions to dismiss
                 in those cases

           E.    Custodial Cellphone & Personal Communications Data:

                 1.     Cellphones: For Document Custodians agreed on by the
                        Parties or ordered by the Court, a producing Party will take
                        reasonable steps to identify whether any unique, responsive,
                        discoverable communications are located on any cellphones in
                        the “possession, custody, or control” (as defined under the
                        Federal Rules and case law) of the producing Party. Unless
                        agreed otherwise, the following shall govern the identification
                        of unique, responsive, discoverable, and non-privileged
                        communications for cellphone-based data for the agreed or
                        ordered Document Custodians with respect to cellphones in the
                        possession, custody, or control of the producing Party. A


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                       producing Party is obligated to disclose if it takes the position
                       that a Document Custodian possesses a cellphone that was used
                       for work purposes that is not within the producing Party’s
                       possession, custody or control; however, nothing in this ESI
                       Protocol obligates a producing Party to subpoena a third-party
                       to obtain the information describe below. If a requesting Party
                       intends to issue a third-party subpoena directed at an employee
                       of a producing Party concerning that employee’s cellphone that
                       is not in the producing Party’s possession, custody or control,
                       the requesting Party will provide notice of its intent to the
                       producing Party so that the Parties may meet and confer
                       regarding the third-party subpoena. The requesting Party may
                       serve the subpoena 5 business days after the date of notice or at
                       such earlier time agreed by the Parties.

                       a.     A producing Party shall use reasonable due diligence to
                              ensure that reasonably available sources of
                              data/applications on a cellphone (and related backups and
                              archives, if those data sources/applications contain work-
                              related information) are evaluated and considered as a
                              potential source of data subject to discovery, including
                              without limitation call and voicemail logs, text messages,
                              contacts, and image files (e.g., pictures and videos). A
                              producing Party will disclose whether or not the
                              producing Party claims that a cellphone used by the
                              Document Custodian for work purposes is not within its
                              possession, custody, or control and will not be subject to
                              the discovery procedures outlined in this ESI Protocol
                              unless agreed to by the relevant Parties or ordered by the
                              Court. A producing Party shall not be required to
                              disclose any other cellphone-related information prior to
                              any culling of cellphone data.

                       b.     A producing Party will consider the sources of
                              information on a cellphone identified below, to the extent
                              reasonably available, to identify unique, responsive, and
                              discoverable information. The Parties will also meet and
                              confer regarding any culling of the sources of
                              information below.

                               i.      Cellphone Call and Voicemail Logs:
                                       The logs of any calls made/received to or from
                                       a Document Custodian, and logs of voicemails


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                                         on a cellphone that the Document Custodian
                                         used for work purposes, if any, if the cellphone
                                         is in the possession, custody, or control of a
                                         producing Party.

                               ii.       Text Messages: All text messages and/or
                                         iMessages, or any other type of message or chat
                                         on a Document Custodian’s cellphone device
                                         used for work purposes, if any, if the cellphone
                                         is in the possession, custody, or control of a
                                         producing Party.

                 2.     Contacts: A Document Custodian’s relevant contact files (e.g.,
                        contacts stored in a Document Custodian’s Microsoft Outlook
                        work account or cellphone-based contacts) in the possession,
                        custody or control of a producing Party and reasonably
                        available using standard collection tools will be produced,
                        preferably as a Microsoft Excel (or .csv). A producing Party is
                        entitled to redact or withhold information from the contacts file
                        that does not relate to the Document Custodian’s work—
                        including, but not limited to, the name and contact information
                        for any family or friends not involved in the cattle or beef
                        industry. If, after reviewing the redactions, the requesting Party
                        believes that more information is needed about the redactions,
                        then the Parties will meet and confer regarding the information
                        redacted, and the producing Party shall provide explanations for
                        information redacted or withheld. Any document produced
                        with redactions permitted under this ESI Protocol shall maintain
                        the electronic search capabilities of the other, unredacted data in
                        the spreadsheet, to the extent possible using the Parties’ existing
                        document review/production capabilities.

                 3.     Social Media Data: If a Document Custodian confirms that he
                        or she (1) used social media for business purposes, and (2) used
                        that social media to communicate with an employee of another
                        Party or otherwise regarding a subject relevant to the Litigations
                        and included within a Request for Production, subject to
                        objections to that Request, then the requested communication(s)
                        must be produced if it is reasonably accessible, in the producing
                        Party’s possession, custody, or control, and not withheld as
                        privileged and/or as illegal to produce under applicable privacy
                        laws. The Parties shall meet and confer about any issues
                        relating to social media, including the scope of social media and


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                           format of production. A producing Party is obligated to
                           disclose to a requesting Party if it takes the position that a
                           Document Custodian possesses social media materials that are
                           not within the producing Party’s possession, custody or control
                           so that a requesting Party may issue a subpoena to that
                           Document Custodian; however, nothing in this ESI Protocol
                           obligates a producing Party to subpoena a third-party to obtain
                           such social media materials. If a requesting Party intends to
                           issue a third-party subpoena directed at an employee of a
                           producing Party concerning that employee’s social media
                           materials that are not in the producing Party’s possession,
                           custody or control, the requesting Party will provide notice of
                           its intent to the producing Party prior to the service of the
                           subpoena so that the Parties may meet and confer regarding the
                           third-party subpoena. The requesting Party may serve the
                           subpoena 5 business days after the date of notice or at such
                           earlier time agreed by the Parties.

      VI.     THIRD PARTY DOCUMENTS

              A.    A Party that issues a non-Party subpoena (“Issuing Party”) shall
                    include a copy of this Order with the subpoena and state that the
                    Parties to the Litigations have requested that third parties produce
                    Documents in accordance with the specifications set forth herein.
                    The Issuing Party shall timely notify other Parties when it receives
                    non-party productions, and shall, upon request by other Parties
                    (“Requesting Parties” for purposes of this paragraph), provide copies
                    of such productions to Requesting Parties in the format in which they
                    were received from the third-party. A party may, but is not obligated
                    to, work to reduce the burden of a third-party by assisting them with
                    creation of a load file in compliance with this ESI Protocol so long as
                    they notify other parties they have done so and provide copies of that
                    compliant load file to Requesting Parties upon request.

   VII.       MISCELLANEOUS PROVISIONS

              A.    Inaccessible ESI: If a producing Party asserts that certain categories
                    of ESI that are reasonably likely to contain responsive information are
                    inaccessible or otherwise unnecessary under the circumstances, or if
                    the requesting Party asserts that, following production, certain ESI is
                    not reasonably usable, the Parties shall meet and confer with their
                    respective technology experts to discuss resolving such assertions.
                    If the Parties cannot resolve any such disputes after such a meet and



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                  confer has taken place, the issue shall be presented to the Court for
                  resolution.

            B.    Variations or Modifications: Variations from this ESI Protocol
                  Order may be required. Any practice or procedure set forth herein may
                  be varied by agreement of all affected Plaintiffs and all affected
                  Defendants, which will be confirmed in writing. In the event a
                  producing Party determines that a variation or modification is
                  appropriate or necessary to facilitate the timely and economical
                  production of documents or ESI, the producing Party will notify the
                  requesting Party of the variation or modification. Upon request by the
                  requesting Party, those Parties will meet and confer to address any
                  issues in a reasonable and timely manner prior to seeking Court
                  intervention.

            C.    Party Coordination: The Court expects the Parties to work together
                  to coordinate discovery in the above-captioned cases, where
                  appropriate and practicable, in a manner that reduces needless
                  duplication and inefficiency, keeping in mind the goal of Federal Rule
                  of Civil Procedure 1 to promote the just, speedy, and inexpensive
                  resolution of these cases.


  IT IS SO ORDERED.



  Dated: September 25, 2020               s/ Hildy Bowbeer
                                         HILDY BOWBEER
                                         United States Magistrate Judge




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                    Appendix 1: ESI Metadata and Coding Fields

         Parties shall endeavor to produce all ESI files with at least each of the data
  fields set forth in Appendix 1, to the extent that the data field can reasonably be
  extracted from a document. For clarity, consistent with the other provisions of
  this ESI Protocol, parties are not obligated to manually populate any of the fields
  listed here.

          Field Name 3          Populated                       Field Description
                               For (Email,
                                   Edoc,
                                Calendar,
                                 Contact,
                               Cellphone, or
                                    All)
      BegBates                      All          Production Control Number for start of
                                                 document.
      EndBates                      All          Production Control Number for end of
                                                 document.
      BegAttach                     All          Control Numbers (First production Bates
                                                 number of the first document of the
                                                 family).
      EndAttach                     All          Control Numbers (Last production Bates
                                                 number of the last document of the family).
      Attachment Count              All          Number of attachments
      Custodian                     All          Custodian name (ex. John Doe).
      DupCust,                      All          All custodians who were in possession
      CustodianOther, or                         of a de-duplicated document besides the
      CustodianAll                               individual identified in the “Custodian”
                                                 field.
      LogicalPath              All ESI Items The directory structure of the original
                                             file(s). Any container name is included in
                                             the path.


  3
    Field Names can vary from system to system and even between different versions of
  systems. Thus, Parties are to be guided by these Field Names and Descriptions when
  identifying the metadata fields to be produced for a given document pursuant to this ESI
  Protocol Order.

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        Field Name 3        Populated                       Field Description
                           For (Email,
                               Edoc,
                            Calendar,
                             Contact,
                           Cellphone, or
                                All)
   Hash Value /                 All          The I\1D5 or SHA-1 hash value.
   Fingerprint
   NativeFile                   All          Native File Link.
   Email Conversation          Email         The Outlook or Lotus Notes conversation
   ID or ECONVERSID                          Index.
   Email Conversation          Email         The Outlook or Lotus Notes
   Family ID, or                             Conversation Index from the email. For
   ECONVERSFAM                               emails, this will be the Email
                                             Conversation Index, for attachments to
                                             an email, it will be the conversation
                                             index of the attachment's parent email.
   EmailSubject                Email         Subject line of email.
   DateSent                    Email         Date email was sent.
   DateMod                  Email, Edoc      Date the document was modified.
   TimeSent                    Email         Time email was sent.
   TimeZoneUsed                 All          Time zone used to process data during
                                             document collection and processing.
   ReceiveTime                 Email         Time email was received.
   ReceiveDate                 Email         Date email was received.
   Meetingstartdate            Email         Start date of calendar entry
   To                          Email         All recipients that were included on the
                                             “To” line of the email.
   From                        Email         The name and email address of the sender
                                             of the email.
   cc                          Email         All recipients that were included on the
                                             “CC” line of the email.




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           Field Name 3        Populated                       Field Description
                              For (Email,
                                  Edoc,
                               Calendar,
                                Contact,
                              Cellphone, or
                                   All)
   BCC                            Email         All recipients that were included on the
                                                “BCC” line of the email.
   Attachname                     Email         File name of attachment
   DateCreated                    Edoc          Date the document was created.
   FileName                    Email, Edoc      File name of the edoc or email.
   Title                          Edoc          Any value populated in the Title field of
                                                the document properties.
   Subject                        Edoc          Any value populated in the Subject field of
                                                the document properties.
   Author                         Edoc          Any value populated in the Author field of
                                                the document properties.
   LastEditedBy                   Edoc          Any value populated in the Last Edited by
                                                or Last Modified By field of the document
                                                properties.
   DocExt                          All          File extension of the document.
   TextPath                        All          Relative path to the document level text
                                                file.
   Redacted                        All          “X,” “Y,” “Yes,” and “True” are all
                                                acceptable indicators that the document is
                                                redacted. Otherwise, blank.
   Withheld Placeholder            All          To the extent a document family member
                                                is fully withheld (on the basis of privilege
                                                or otherwise), and other documents in that
                                                family are produced, this field must be
                                                populated with a “Y”.
   Privilege                       All          Populated if privilege is being asserted




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        Field Name 3         Populated                       Field Description
                            For (Email,
                                Edoc,
                             Calendar,
                              Contact,
                            Cellphone, or
                                 All)
   Paper                         All          “Y” if document is scanned from hard
                                              copy in connection with the collection and
                                              production of documents in this matter.
   Legend/Confidentiality        All          Indicates if document has been designated
                                              as “Confidential” or “Highly Confidential”
                                              under the Protective Order.
   Production Volume             All          Production Volume Name




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